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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

 

Eric Von Heppinstall, individually and on behalf of all

Civil Action
others similarly situated;

Plaintiff,
CLASS ACTION COMPLAINT

DEMAND FOR JURY TRIAL

-Vi-

Resurgent Capital Services L.P., LVNV Funding LLC,
and John Does 1-25,

 

Defendants.

 

Plaintiff Eric Von Heppinstall (hereinafter, “Plaintiff’), a Pennsylvania resident, brings this

 

Class Action Complaint by and through his attorneys, against Defendants Resurgent Capital
Services L.P. (hereinafter “Defendant Resurgent”) and Defendant LVNV Funding (hereinafter
“Defendant LVNV”), individually and on behalf of a class of all others similarly situated, pursuant
to Rule 23 of the Federal Rules of Civil Procedure, based upon information and belief of Plaintiff's
counsel, except for allegations specifically pertaining to Plaintiff, which are based upon Plaintiff's
personal knowledge.
INTRODUCTION/PRELUIMINARY STATEMENT

1. Congress enacted the Fair Debt Collection Practices Act (hereinafter, the “FDCPA”
or “Act”) in 1977 in response to the “abundant evidence of the use of abusive, deceptive, and unfair
debt collection practices by many debt collectors.” 15 U.S.C. §1692(a). At that time, Congress was
concerned that “abusive debt collection practices contribute to the number of personal bankruptcies,
to material instability, to the loss of jobs, and to invasions of individual privacy.” Jd. Congress

concluded that “existing laws...[we]re inadequate to protect consumers,” and that “‘the effective

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collection of debts” does not require “misrepresentation or other abusive debt collection practices,”
15 U.S.C. §§ 1692(b) & (c).

2. Congress explained that the purpose of the Act was not only to eliminate abusive
debt collection practices, but also to “insure that those debt collectors who refrain from using
abusive debt collection practices are not competitively disadvantaged.” Jd. § 1692(e). After
determining that the existing consumer protection laws -were inadequate ~ Id. § 1692(b), Congress
gave consumers a private cause of action against debt collectors who fail to comply with the Act.
Id. § 1692k.

JURISDICTION AND VENUE

3, The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331 and
15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over all State law claims in this action
pursuant to 28 U.S.C. § 1367(a).

4. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this is
where a substantial part of the events or omissions giving rise to the claim occurred.

NATURE OF THE ACTION

5. Plaintiff brings this class action on behalf of a class of Pennsylvania consumers under

§1692 et seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt

Collections Practices Act (““FDCPA”), and

6. Plaintiff is seeking damages and declaratory relief.
PARTIES
7. Plaintiff is a resident of the Commonwealth of Pennsylvania, County of Luzerne.
8. Defendant Resurgent is a “debt collector” as the phrase is defined in 15 U.S.C.

§ 1692(a)(6) and used in the FDCPA and at 55 Beattie Place, Suite 110, Greenville, SC 29601 and
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may be served process upon the Corporation Service Company at 80 State Street, Albany, New
York 12207.

9, Upon information and belief, Defendant Resurgent is a company that uses the mail,
telephone, and facsimile and regularly engages in business the principal purpose of which is to
attempt to collect debts alleged to be due another.

10. Defendant LVNV is a “debt collector” as the phrase is defined in 15 U.S.C. §
1692(a)(6) and used in the FDCPA and can be served process upon its registered agent, Corporation
Service Company at 2595 Interstate Drive, Suite 103, Harrisburg, PA 17110.

11. Upon information and belief, Defendant LVNV is a company that uses the mail,
telephone, and facsimile and regularly engages in business the principal purpose of which is to
attempt to collect debts alleged to be due another

12. John Does 1-25, are fictitious names of individuals and businesses alleged for the
purpose of substituting names of Defendants whose identities will be disclosed in discovery and

should be made parties to this action.

CLASS ALLEGATIONS
13. __— Plaintiff brings this claim on behalf of the following case, pursuant to Fed. R. Civ.
P. 23(a) and 23(b)(3).
14. The Class consists of:
a. all individuals with addresses in the Commonwealth of Pennsylvania;
b. to whom Defendant Resurgent sent an initial collection letter attempting to
collect a consumer debt;

c. on behalf of Defendant LVNV;
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d. that fails to disclose that the previously-lapsed statute of limitations to file a
lawsuit to collect the debt will recommence upon payment;

e. which letter was sent on or after a date one (1) year prior to the filing of this
action and on or before a date twenty-one (21) days after the filing of this action.

15. The identities of all class members are readily ascertainable from the records of
Defendants and those companies and entities on whose behalf they attempt to collect and/or have
purchased debts.

16. Excluded from the Plaintiff Class are the Defendants and all officer, members,
partners, managers, directors and employees of the Defendants and their respective immediate
families, and legal counsel for all parties to this action, and all members of their immediate families.

17. There are questions of law and fact common to the Plaintiff Class, which common
issues predominate over any issues involving only individual class members. The principal issue is
whether the Defendants’ written communications to consumers, in the forms attached as Exhibit
A, violate 15 U.S.C. §§ 1692e, 1692.

18, The Plaintiffs claims are typical of the class members, as all are based upon the same
facts and legal theories. The Plaintiff will fairly and adequately protect the interests of the Plaintiff
Class defined in this complaint. The Plaintiff has retained counsel with experience in handling
consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff nor his attorneys
have any interests, which might cause them not to vigorously pursue this action.

19. | This action has been brought, and may properly be maintained, as a class action
pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a well-

defined community interest in the litigation:
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a. Numerosity: The Plaintiff is informed and believes, and on that basis alleges,
that the Plaintiff Class defined above is so numerous that joinder of all members
would be impractical.

b. Common Questions Predominate; Common questions of law and fact exist as
to all members of the Plaintiff Class and those questions predominate over any
questions or issues involving only individual class members. The principal issue
is whether the Defendants’ written communications to consumers, in the forms
attached as Exhibit A violate 15 U.S.C. §§ 1692e, 1692g.

c. Typicality: The Plaintiff's claims are typical of the claims of the class members.
The Plaintiff and all members of the Plaintiff Class have claims arising out of the
Defendants’ common uniform course of conduct complained of herein.

d. Adequacy: The Plaintiff will fairly and adequately protect the interests of the
class members insofar as Plaintiff has no interests that are adverse to the absent
class members. The Plaintiff is committed to vigorously litigating this matter.
Plaintiff has also retained counsel experienced in handling consumer lawsuits,
complex legal issues, and class actions. Neither the Plaintiff nor his counsel have
any interests which might cause them not to vigorously pursue the instant class
action lawsuit.

e. Superiority: A class action is superior to the other available means for the fair
and efficient adjudication of this controversy because individual joinder of all
members would be impracticable. Class action treatment will permit a large

number of similarly situated persons to prosecute their common claims in a single
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forum efficiently and without unnecessary duplication of effort and expense that
individual actions would engender.

20. Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure
is also appropriate in that the questions of law and fact common to members of the Plaintiff Class
predominate over any questions affecting an individual member, and a class action is superior to
other available methods for the fair and efficient adjudication of the controversy.

21. Depending on the outcome of further investigation and discovery, Plaintiff may, at
the time of class certification motion, seek to certify a class(es) only as to particular issues pursuant

to Fed. R. Civ. P. 23(c)(4).

FACTUAL ALLEGATIONS

22. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs
numbered above herein with the same force and effect as if the same were set forth at length herein.

23. Some time prior to September 1, 2021, an obligation was allegedly incurred to Plains
Commerce Bank

24. The Plains Commerce Bank obligation arose out of a transaction in which involved
the transaction of money, property, insurance or services primarily for personal, family or household
purposes.

25. The alleged Plains Commerce Bank obligation is a "debt" as defined by 15 U.S.C.§
1692a(5).

26. Plains Commerce Bank is a "creditor" as defined by 15 U.S.C.§ 1692a(4).

27. Defendant Resurgent, a debt collector and subsequent owner of the Plains Commerce

Bank debt, contracted with Defendant LVNV to collect the alleged debt.
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28. Defendants collects and attempt to collect debts incurred or alleged to have been
incurred for personal, family or household purposes on behalf of creditors using the United States
Postal Services, telephone and internet.

Violation — September 1, 2021 Collection Letter

29, On or about September 1, 2021, Defendant Resurgent sent Plaintiff a collection letter
(the “Letter”) regarding the alleged debt owed. A true and accurate copy of the Letter is attached as
Exhibit A.

30. The letter mentions a balance of $581.05 and states: We are providing the following
information regarding the accountholder’s legal rights in response to a recent communication
regarding the above-referenced account. For further assistance, please contact one of our Customer
Service Representatives toll-free at 1-888-665-0374.

31. The letter further states: “The law limits how long you can be sued on a debt.
Because of the age of your debt, LVNV Funding LLC cannot sue you for it, and LVNV Funding
LLC cannot report it to any credit reporting agency.”

32, The letter is materially deceptive as it fails to disclose that the previously-lapsed
statute of limitations to file a lawsuit to collect the debt will recommence upon payment by Plaintiff.

33. Therefore, the letter puts the Plaintiff at material risk of making a partial payment
and thereby unknowingly recommencing the lapsed statute of limitations.

34. Furthermore, the first paragraph contains a request to call to discuss for further
assistance, which misleads the consumer by implying that a phone call is sufficient to discuss all
facets of the account including disputing the debt, when in reality, in order to properly assert all his

rights, the Plaintiff must put the dispute request in writing.
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35. Plaintiff incurred an informational injury because the Defendants falsely describe the
requirements for a dispute, thus leaving the consumer confused as to the proper procedures to
dispute his debt.

36. Because of Defendants’ actions, Plaintiff expended time, money, and effort in
determining the proper course of action.

37. These violations by Defendants were knowing, willful, negligent and/or intentional,
and Defendant did not maintain procedures reasonably adapted to avoid any such violations.

38. Defendants’ collection efforts with respect to this alleged debt from Plaintiff caused
Plaintiff to suffer concrete and particularized harm, inter alia, because the FDCPA provides Plaintiff
with the legally protected right to be not to be misled or treated unfairly with respect to any action
for the collection of any consumer debt.

39. Defendants’ deceptive, misleading and unfair representations with respect to its
collection efforts were material misrepresentations that affected and frustrated Plaintiff's ability to
intelligently respond to Defendants’ collection efforts because Plaintiff could not adequately
respond to Defendants’ demand for payment of this debt.

40. Defendants’ actions created an appreciable risk to Plaintiff of being unable to
properly respond or handle Defendants’ debt collection.

41. Plaintiff was confused and misled to her detriment by the statements in the dunning
letter, and relied on the contents of the letter to her detriment.

42. Plaintiff would have pursued a different course of action were it not for Defendant’s

statutory violations.
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43. Plaintiff sustained an informational injury in that she was deceptively misled about
the true legal nature of the alleged debt and was not advised that making payment on the debt would
restart the statute of limitations.

44, As a result of Defendants’ deceptive, misleading and unfair debt collection practices,
Plaintiff has been damaged.

COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION
PRACTICES ACT 15 U.S.C. §1692e et seq.

45. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs
above herein with the same force and effect as if the same were set forth at length herein.

46. Defendants’ debt collection efforts attempted and/or directed towards the Plaintiff
violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

47. Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or
misleading representation or means in connection with the collection of any debt.

48. Defendants violated §1692e:

a. by omitting material information creating a false and misleading representation of
the status of the debt in violation of §1692e(10); and
b. by falsely representing the character, amount or legal status of the debt in violation
of §1692e(2)(A);
49, By reason thereof, Defendants are liable to Plaintiff for judgment that
Defendants conduct violated Section 1692e et seg. of the FDCPA, actual damages, statutory

damages, costs and attorneys’ fees.
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COUNT U
VIOLATIONS OF THE FAIR DEBT COLLECTION
PRACTICES ACT 15 U.S.C. §1692¢ et seq.
50. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs
above herein with the same force and effect as if the same were set forth at length herein.
51. Defendants’ debt collection efforts attempted and/or directed towards the Plaintiff
violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692.

52. Pursuant to 15 USC §1692g, a debt collector:

Within five days after the initial communication with a consumer in connection with
the collection of any debt, a debt collector shall, unless the following information is

contained in the initial communication or the consumer has paid the debt, send the consumer

a written notice containing —

i. The amount of the debt;

ii, The name of the creditor to whom the debt is owed;

iil. A statement that unless the consumer, within thirty days after receipt of the
notice, disputes the validity of the debt, or any portion thereof, the debt will
be assumed to be valid by the debt-collector;

iv. A statement that the consumer notifies the debt collector in writing within
thirty-day period that the debt, or any portion thereof, is disputed, the debt
collector will obtain verification of the debt or a copy of a judgment against
the consumer and a copy of such verification or judgment will be mailed to

the consumer by the debt collector; and

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v. A statement that, upon the consumer’s written request within the thirty-day
period, the debt collector will provide the consumer with the name and
address of the original creditor, if different from the current creditor.

53. The Defendants violated 15 U.S.C. §1692g, by using misleading language in regards
to the method for a dispute, and deceives the consumer not to exert its rights under the FDCPA.

54. By reason thereof, Defendants are liable to Plaintiff for judgment that Defendants
conduct violated Section 1692g et seq. of the FDCPA, actual damages, statutory damages, costs and

attorneys’ fees.

DEMAND FOR TRIAL BY JURY
55. Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests
a trial by jury on all issues so triable.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff Eric Von Heppinstall, individually and on behalf of all others
similarly situated, demands judgment from Defendant Resurgent and Defendant LVNV as follows:
1. Declaring that this action is properly maintainable as a Class Action and certifying

Plaintiff as Class representative, and Scott Bernstein, Esq. as Class Counsel;

2. Awarding Plaintiff and the Class Statutory damages;

3. Awarding Plaintiff and the Class actual damages;

4. Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and
expenses;

5. Awarding pre-judgment interest and post-judgment interest; and

6. Awarding Plaintiff and the Class such other and further relief as this Court may deem

just and proper.

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Dated: Roseland, New Jersey
September 17, 2021

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Skolnick Legal Group, P.C.

/s/ Scott-H. Bernstein

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